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                                             July 18, 2023
By ECF
Hon. Kari A. Dooley
United States District Court
District of Connecticut
915 Lafayette Boulevard
Bridgeport, CT 06604

       Re:     United States v. Oztemel, et al.
               23 Crim. 26 (KAD)

Dear Judge Dooley:

       Counsel for the government has made the following representation to us (counsel for
Glenn Oztemel) regarding our pending motion to compel compliance with the court’s Standing
Order on Criminal Discovery, § A (Am. Dec. 19, 2022):

          The government is presently in compliance with its obligations under Brady
          v. Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150
          (1972), which are summarized in United States v. Coppa, 267 F.3d 132, 146
          (2d Cir. 2001), as well as with its obligations under the Standing Order on
          Criminal Discovery of the District of Connecticut with respect to Brady and
          Giglio material.

        Accordingly, we withdraw our pending motion to compel (see Dkts. 48, 49, 54, 56, and
59, et al.), and we respectfully request that the Court cancel the scheduled July 26, 2023,
appearance before Your Honor.

                                             Respectfully
                                              espectful submitted,

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